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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION
                                         :
In re:                                   :
                                         :
   Mandy M. Jones                        :  Case No.: 18-10416
                                         :  Chapter 7
         Debtor.                         :  Chief Judge Robert E. Grant
                                         :  *********************
                                         :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
  PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES SURRENDER OF
  PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-DAY WAIVER
                        (FIRST MORTGAGE)

The creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, hereby moves the Court, pursuant to

11 U.S.C. § 362(d) and § 554, to lift the automatic stay and abandon from the estate the

following real property:

              1541 Sabine Street, Huntington, IN 46750, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

         1.     Mandy M. Jones (hereinafter ''Debtor'') filed a Chapter 7 case on March 21, 2018,

(hereinafter the "Petition Date").

         2.     As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

         3.     The above described Mortgage was given to secure a promissory note,

(hereinafter the "Note"), dated December 22, 2006 and made payable to the Creditor in the

original sum of $40,000.00. A copy of the Note is attached hereto as Exhibit "B".




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       4.        The Creditor perfected an interest in the Property, more particularly described in

the Mortgage, recorded in Huntington County Recordings Office on December 27, 2006.

Evidence of perfection is attached as Exhibit "A".

       5.        Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary.

       6.        As of March 23, 2018, the outstanding principal of the Note was $37,500.49 and

the outstanding interest was $1,575.80. As of March 23, 2018, the approximate payoff of the

loan in question, consisting of the outstanding principal, interest, escrow advances and corporate

advance is $42,499.30.

       7.        The Property is burdensome and/or of inconsequential value and benefit to the

estate. Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

these reasons:

       a.        Debtor has no equity in the Property. Creditor believes that the Property has a
                 value of $38,500.00 based on Assessor's value, which is attached hereto as
                 Exhibit "C". The balance on Creditor's first mortgage exceeds the value of the
                 Property. Based upon the lack of equity in the Property, Creditor asserts that the
                 Property is burdensome and/or of inconsequential value and benefit to the estate.

       b.        The Creditor is not being adequately protected. Per the Note and Mortgage,
                 payments are applied to the last month due. Based on the foregoing, Debtor has
                 failed to make periodic payments to Creditor since October 1, 2017 through
                 March 23, 2018.

       c.        Debtor intends to surrender the Property located at 1541 Sabine Street,
                 Huntington, IN 46750 according to the Statement of Intent filed.

       8.        The Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this

motion within thirty (30) days of the date it is filed. Creditor, by counsel, further prays that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) be waived.

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PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk

within 14 days of the date of this notice. Those not required or not permitted to file

electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in

person at:

                                  Fort Wayne
                                  1300 South Harrison Street
                                  Room 1188
                                  Fort Wayne, IN 46802-3435

The objecting party must ensure delivery of the objection to the party filing the motion. If an

objection is NOT timely filed, the requested relief and abandonment may be granted.

       WHEREFORE, the Creditor moves the Court to enter an order lifting the automatic stay

and abandoning the Property, and granting such other relief as appropriate.

                                                       Respectfully submitted,

                                                       /s/ Sarah E. Barngrover
                                                        Sarah E. Barngrover (28840-64)
                                                        Edward H. Cahill (0088985)
                                                        Adam B. Hall (0088234)
                                                        John R. Cummins (11532-10)
                                                        Amy E. Gardner (93532)
                                                        Manley Deas Kochalski LLC
                                                        P.O. Box 165028
                                                        Columbus, OH 43216-5028
                                                        614-220-5611; Fax: 614-627-8181
                                                        Attorney for Creditor
                                                        The case attorney for this file is Sarah E.
                                                        Barngrover.
                                                        Contact email is
                                                        sebarngrover@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on the parties listed below via e-mail notification:

   Nancy Gargula, 100 East Wayne Street, 5th Floor, South Bend, IN 46601-2349, 574-236-
   8105

   Martin E. Seifert, 444 East Main Street, Fort Wayne, IN 46802

   Jeffrey S Arnold, Attorney for Mandy M. Jones, 209 W. Van Buren Street, Columbia City, IN
   46725, jsarnold@jeffarnoldlaw.com

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was

served on all parties listed on the attached creditor matrix via regular U.S. Mail, postage

prepaid on April 27, 2018.


                                                                 /s/ Sarah E. Barngrover




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Label Matrix for local noticing Case 18-10416-reg
                                            Alliance OneDoc 12 Filed 04/27/18     Page(p)AMERICOLLECT
                                                                                        5 of 6        INC
0755-1                                      1684 Woodlands Drive, Ste. 150             PO BOX 2080
Case 18-10416-reg                           Maumee, OH 43537-4026                      MANITOWOC WI 54221-2080
Northern District of Indiana
Fort Wayne Division
Mon Apr 2 15:31:57 EDT 2018
Jeffrey S. Arnold (CC)                      Sarah E. Barngrover                        Bowen Center
Jeffrey S. Arnold, Attorney at Law          Manley Deas Kochalski LLC                  2860 Northpark Avenue
209 W. Van Buren Street                     P.O. Box 165028                            Huntington, IN 46750-9700
Columbia City, IN 46725-2037                Columbus, OH 43216-5028


Capital One Bank USA                      Capital One Auto Finance                     Capital One Auto Finance, a division of Capi
P.O. Box 30281                            a division of Capital One, N.A. Dept.        4515 N Santa Fe Ave. Dept. APS
Salt Lake City, UT 84130-0281             AIS Portfolio Services, LP                   Oklahoma City, OK 73118-7901
                                          Account: XXXXXXXXX9503
                                          4515 N Santa Fe Ave. Dept. APS
                                          Oklahoma City, OK 73118-7901
Chase Receivables                         Fort Wayne Radiology                         Nancy J. Gargula
1247 Broadway                             Post Office Box 5602                         100 East Wayne Street, 5th Floor
Sonoma, CA 95476-7503                     Fort Wayne, IN 46895-5602                    South Bend, IN 46601-2349



Great Lakes Anesthesia, PC                (p)HUNTINGTON COUNTY TREASURER               Indiana Department of Revenue
P.O. Box 3055                             201 N JEFFERSON ST                           Bankruptcy Section - MS 108
Indianapolis, IN 46206-3055               ROOM 104                                     100 North Senate Avenue, N240
                                          HUNTINGTON IN 46750-2841                     Indianapolis IN 46204-2231


Indiana Employment Security Division      Mandy M Jones                                MSCB
10 North Senate Street                    1541 Sabine Street                           P.O. Box 1567
Indianapolis, IN 46204-2201               Huntington, IN 46750-2432                    Paris, TN 38242-1567



Manley, Deas & Kochalski, LLC             Mr. Cooper                                   Nationstar Mortgage
P.O. Box 441039                           PO Box 650783                                P.O. Box 650783
Indianapolis, IN 46244-1039               Dallas, TX 75265-0783                        Dallas, TX 75265-0783



OneMain Financial                         Parkview Huntington Hosptial                 Parkview Physicians Group
300 St Paul Place - BSP05C                2001 Stults Rd                               3810 New Vision Dr
Baltimore, MD 21202-2120                  Huntington, IN 46750-1291                    Fort Wayne, IN 46845-1708



Professional ER Physicians                Professional Recovery                        Robert M. Crane
3640 New Vision Dr., Ste. A               7319 West Jefferson Blvd.                    916 Main Street
Fort Wayne, IN 46845-1717                 Fort Wayne, IN 46804-6237                    PO Box 151684
                                                                                       Anderson, IN 46015-1684


Martin E. Seifert                         Specialized Loan Servicing                   Teachers Credit Union
444 East Main Street                      8742 Lucent Blvd, Suite 300                  Cardmember Services
Fort Wayne, IN 46802-1911                 Highlands Ranch, CO 80129-2386               PO Box 3331
                                                                                       Omaha, NE 68103-0331
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Americollect                                         Huntington County Treasurer
PO Box 1690                                          Courthouse Square
Manitowoc, WI 54221-1690                             Huntington IN 46750




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Nationstar Mortgage LLC d/b/a Mr. Cooper          End of Label Matrix
                                                     Mailable recipients    29
                                                     Bypassed recipients     1
                                                     Total                  30
